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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


 LARRY MOSES                                                    CIVIL ACTION

 VERSUS                                                         NO. 24-1768

 CITY OF NEW ORLEANS, et al.                                    SECTION M (4)



                                           ORDER

       Considering the unopposed motion of plaintiff Larry Moses for an extension of time to file

an amended complaint (R. Doc. 26),

       IT IS ORDERED that the motion is GRANTED.

       IT IS FURTHER ORDERED that, in accordance with Rule 15(a)(1)(B), plaintiff Larry

Moses shall have an additional 25 days, or until January 24, 2025, to file an amended complaint

in the captioned matter.

       IT IS FURTHER ORDERED that the January 9, 2025 submission for the 12(b)(6) motion

to dismiss of defendant City of New Orleans is continued to February 6, 2025. Any opposition

and reply memoranda shall be filed in accordance with the Local Rules.

       New Orleans, Louisiana, this 23rd day of December, 2024.


                                                    ________________________________
                                                    BARRY W. ASHE
                                                    UNITED STATES DISTRICT JUDGE
